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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


IN RE GEORGIA SENATE BILL 202            Master Case No.:
                                         1:21-MI-55555-JPB



UNITED STATES OF AMERICA,
                                         Civil Action No.:
             Plaintiff,                  1:21-CV-02575-JPB

               v.

THE STATE OF GEORGIA, et al.,

             Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

             Intervenor-Defendants.


     DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
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                              INTRODUCTION

      Through SB 202, Georgia added additional security and integrity to the

State’s election process, ensuring that Georgia’s citizens can vote both easily

and securely. That SB 202 does nothing to undermine the ease with which

Georgia citizens can vote is effectively conceded by the Plaintiff (represented

by the Department of Justice) when it fails to allege that anyone’s right to vote

has been or will be denied, abridged, or diluted because of their race. Indeed,

the Department does not even claim that SB 202 has any discriminatory effect.

Instead, it suggests (incorrectly) that the legislative process leading to SB 202

was tainted by discriminatory intent and that the statute must therefore fall.

But the Department well knows that, in this Circuit, “discriminatory intent

alone is insufficient to establish a violation of Section 2” of the Voting Rights

Act. Johnson v. DeSoto Cnty. Bd. of Comm’rs, 72 F.3d 1556, 1561 (11th Cir.

1996) (emphasis added).

      The Department’s failure to allege a discriminatory effect despite its

necessity for a Section 2 violation suggests that the Department’s real intent

here is to intrude into Georgia’s constitutional authority to regulate the “time,

place, and manner” of its elections, U.S. Const. art. I, § 4, cl. 1, for political

reasons. The Department knows that SB 202 imposes reasonable, non-

discriminatory, and mainstream requirements on the election process. That, of
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course, is why the Department has not challenged identical (or even more

restrictive) requirements in left-leaning States such as Delaware, New York,

Rhode Island, and New Jersey. It appears, then, that this case is nothing more

than an attempt to gain political advantages for candidates aligned with the

political party of the incumbent federal Administration, all at the expense of

Georgia taxpayers and voters.

      This selective civil prosecution of Georgia, despite the existence of other,

more obvious targets with similar or more restrictive voting regulations,

violates the “equal sovereignty doctrine.” And it shows an antipathy for

Georgia voters, who will face greater difficulty in ensuring the integrity and

fairness of their elections if they are unable to rely upon reasonable election

safeguards like those enacted in other states. For each of these reasons, and

those addressed more fully below, Plaintiff’s claim is without merit.

                        AFFIRMATIVE DEFENSES

                         First Affirmative Defense

      Plaintiff’s claims are barred by what the U.S. Supreme Court has called

the “equal sovereignty doctrine,” which rests upon Article IV of the federal

Constitution, because Plaintiff has singled out and targeted the State of

Georgia for taking the same actions that many other States have taken, yet

which Plaintiff has not targeted through civil prosecution.

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                        Second Affirmative Defense

      Plaintiff’s selective civil prosecution against Defendants but not against

other States with similar or more restrictive election laws violates the Equal

Protection and First Amendment rights of Georgia’s citizens. It does so by

forcing them, based on their presumed political viewpoints, to assume a risk

that their elections will be less secure and subject to greater risk of misconduct,

because of the Plaintiff’s efforts to thwart Georgia citizens’ ability to adopt and

enforce laws that are common in other States.

                         Third Affirmative Defense

      Plaintiff has unclean hands, misusing selective civil prosecution against

a State for the apparent purpose of gaining a political advantage for candidates

aligned with the political party of the incumbent federal Administration, while

ignoring identical or even more restrictive election laws enacted in States

dominated by the political party of that Administration.

                        Fourth Affirmative Defense

      Plaintiff fails to state a claim upon which relief may be granted because,

among other things, SB 202 does not have a discriminatory purpose or intent.

                          Fifth Affirmative Defense

      Contrary to Plaintiff’s assertions and assumptions, Section 2 of the

Voting Rights Act does not provide for an intent-only claim.

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                         Sixth Affirmative Defense

      If Section 2 of the Voting Rights Act allows for an intent-only claim, it is

unconstitutional. The Eleventh Circuit recognizes “two prongs to an equal

protection analysis under the Fourteenth Amendment and a denial or

abridgment analysis under the Fifteenth Amendment” namely, discriminatory

“intent and effect.” Greater Birmingham Ministries v. Sec’y of State for State

of Alabama, 992 F.3d 1299, 1321 (11th Cir. 2021) (emphasis in original). Any

interpretation of Section 2 that imposes liability on Defendants without one of

those two necessary prongs would accordingly exceed Congress’s enforcement

power under those two amendments.

                       Seventh Affirmative Defense

      Plaintiff failed to join necessary and indispensable parties.

                        Eighth Affirmative Defense

      Plaintiff’s claims are precluded by the equitable doctrine of laches.

                         Ninth Affirmative Defense

      Plaintiff’s requested relief is barred by the Purcell principle.

                         Tenth Affirmative Defense

      Defendants reserve the right to amend their defenses and to add

additional ones, including lack of subject matter jurisdiction based on the




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mootness or ripeness doctrines, as further information becomes available in

discovery.

                                 RESPONSES

      Defendants respond below to the separately numbered paragraphs and

prayer for relief contained in the Complaint. To the extent that any allegation

is not admitted herein, it is denied. Moreover, to the extent that the Complaint

refers to or quotes from external documents, statutes, or other sources,

Defendants may refer to such materials for their accurate and complete

contents; however, Defendants’ references are not intended to be, and should

not be construed to be, an admission that the cited materials: (a) are correctly

cited or quoted by Plaintiff; (b) are relevant to this, or any other, action; or

(c) are admissible in this, or any other, action.

      Defendants answer as follows:

      1.     Defendants admit that the State of Georgia enacted The Election

Integrity Act of 2021 (SB 202) in March 2021. The remainder of Paragraph 1

contains Plaintiff’s characterization of SB 202 and the purposes behind its

enactment, not allegations of fact, to which no response is required. To the

extent a response is required, Defendants deny Plaintiff’s characterization and

respectfully refer the Court to SB 202 for the most accurate statement of its

purpose.

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      2.    The    bullet       points   in       Paragraph    2   contain     Plaintiff’s

characterization of SB 202, rather than allegations of fact, to which no

response is required.       To the extent a response is deemed necessary,

Defendants deny Plaintiff’s characterization.           By way of further response,

Defendants respectfully refer the Court to the text of SB 202 for a full and

accurate statement of its contents and its provisions. Defendants deny the

final sentence of Paragraph 2.

      3.    Paragraph       3    contains     Plaintiff’s   conclusions   of   law   and

characterization of this action, not allegations of fact, to which no response is

required. To the extent a response is deemed necessary, Defendants admit

that the Attorney General has enforcement authority under the Voting Rights

Act but deny that SB 202 violates the Voting Rights Act.

      4.    Defendants admit that SB 202 was signed into law on March 25,

2021, and that SB 202 enacted several measures to strengthen the integrity of

Georgia’s electoral system. The remainder of Paragraph 4 contains Plaintiff’s

conclusions of law and characterization of this action, not allegations of fact, to

which no response is required.           By way of further response, Defendants

respectfully refer the Court to the text of SB 202 for a full and accurate

statement of its contents and its provisions.

      5.    Defendants deny the allegations in Paragraph 5.

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                       JURISDICTION AND VENUE 1

      6.      Defendants admit the allegations in Paragraph 6.

      7.      Defendants admit the allegations in Paragraph 7.

                                  PARTIES

      8.      Defendants admit that the Attorney General has enforcement

authority under the Voting Rights Act but deny that SB 202 violates the Voting

Rights Act.

      9.      Defendants admit the allegations in Paragraph 9.

      10.     Defendants admit the allegations in Paragraph 10.

      11.     Defendants admit that Defendant Brad Raffensperger is the

Georgia Secretary of State and an ex officio, non-voting member of the State

Election Board, and that he is sued his official capacity. Defendants deny the

remaining allegations in Paragraph 11.

                               ALLEGATIONS

      Population and Voter Participation Data

      12.     Defendants admit that the allegations contained in Paragraph 12

accurately reflect the 2010 Census population estimates.



1 For ease of reference, Defendants refer to Plaintiff’s headings and titles, but
to the extent those headings and titles could be construed to contain factual
allegations, those allegations are denied.

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      13.    Paragraph 13 contains Plaintiff’s characterization of Census

estimates, not allegations of fact, to which no response is required. By way of

further response, Defendants respectfully refer the Court to the cited Census

estimates and deny any allegation inconsistent therewith.

      14.    Paragraph 14 contains Plaintiff’s characterization of Census

estimates, not allegations of fact, to which no response is required. By way of

further response, Defendants respectfully refer the Court to the cited Census

estimates and deny any allegation inconsistent therewith.

      15.    Paragraph 15 contains Plaintiff’s characterization of Census

estimates and survey data, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited Census estimates and survey data for a full and accurate statement

of their contents and deny any allegations inconsistent therewith.

      16.    Paragraph 16 contains Plaintiff’s characterization of survey data,

not allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited survey for a full

and accurate statement of its contents and deny any allegations inconsistent

therewith.

      17.    Defendants admit the contained in Paragraph 17.




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      18.    Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 18.

      19.    Defendants admit the allegations contained in Paragraph 19.

      20.    Defendants admit the allegations contained in Paragraph 20.

      21.    Defendants admit that in 2018, approximately 6.89 percent of

Black voters and 4.24 percent of white voters cast an absentee by mail ballot.

The remainder of Paragraph 21 contains Plaintiff’s characterization of voter

data, not allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited data for a full

and accurate statement of their contents and deny any allegations inconsistent

therewith.

      22.    Defendants admit that more voters voted by absentee ballot in the

2020 elections. For the remainder of Paragraph 22, Defendants respectfully

refer the Court to the underlying voter data for a full and correct statement of

their contents and deny any allegation inconsistent therewith.

      Socio-Economic Data

      23.    Paragraph 23 contains Plaintiff’s characterization of survey data,

not allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited survey for a full




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and accurate statement of its contents and deny any allegations inconsistent

therewith.

      24.    Paragraph 24 contains Plaintiff’s characterization of survey data,

not allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited survey for a full

and accurate statement of its contents and deny any allegations inconsistent

therewith.

      25.    Paragraph 25 contains Plaintiff’s characterization of survey data,

not allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited survey for a full

and accurate statement of its contents and deny any allegations inconsistent

therewith.

      26.    Paragraph 26 contains Plaintiff’s characterization of survey data,

not allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited survey for a full

and accurate statement of its contents and deny any allegations inconsistent

therewith.

      27.    Paragraph 27 contains Plaintiff’s characterization of survey data,

not allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited survey for a full

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and accurate statement of its contents and deny any allegations inconsistent

therewith.

      28.    Paragraph 28 contains Plaintiff’s characterization of survey data,

not allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited survey for a full

and accurate statement of its contents and deny any allegations inconsistent

therewith.

      29.    Paragraph 29 contains Plaintiff’s characterization of survey data,

not allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited survey for a full

and accurate statement of its contents and deny any allegations inconsistent

therewith.

      The State of Georgia’s History of Discrimination

      30.    Paragraph 30 contains Plaintiff’s characterization of the cited

cases, not allegations of fact, to which no response is required. By way of

further response, Defendants respectfully refer the Court to those cases for a

full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      31.    Defendants admit that the State of Georgia was previously subject

to the preclearance requirement of Section 5 of the Voting Rights Act. The

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remainder of Paragraph 31 contains Plaintiff’s characterization of authority

and legal conclusions, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the cited

authority for a full and accurate statement of their contents and deny any

allegations inconsistent therewith.

      32.   Paragraph 32 contains a legal conclusion, not allegations of fact, to

which no response is required.        By way of further response, Defendants

respectfully refer the Court to the cited authority for a full and accurate

statement of its contents and deny any allegations inconsistent therewith.

      33.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 33.

      34.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 34.

      Provisions of SB 202

      35.   Defendants admit that SB 202 makes several changes to Georgia’s

election laws. Defendants deny Plaintiff’s characterizations of SB 202 in this

paragraph, and respectfully refer the Court to the text of SB 202 for a full and

accurate statement of its contents.




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      A.    Government-Mailed Absentee Ballot Applications

      36.   Defendants admit the allegations contained in Paragraph 36, but

note that this was done through emergency measures to mitigate risks

associated with in-person voting during the COVID-19 pandemic.

      37.   Defendants admit that more voters voted by absentee ballots in

the June 2020 primary than in previous elections.

      38.   Defendants admit the allegations contained in Paragraph 38.

      39.   Defendants admit that the State did not distribute unsolicited

absentee ballot applications for the November 2020 or January 2021 elections.

Defendants deny Plaintiff’s allegations of the reason for that decision. The

remainder of Paragraph 39 contains Plaintiffs’ characterization the cited

interview, not allegations of fact, to which no response is required. By way of

further response, Defendants respectfully refer the Court to the cited interview

for a full and accurate statement of its contents and deny any allegations

inconsistent therewith.

      40.   Defendants admit the allegations contained in Paragraph 40.

      41.   Defendants admit the allegations contained in Paragraph 41.

      42.   Defendants admit the allegations contained in Paragraph 42.




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      B.    Third-Party-Provided Absentee Ballot Applications

      43.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in the first sentence

of Paragraph 43. The remainder of this paragraph contains legal conclusions,

not allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to the cited authority for a

full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      44.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 44.

      C.    Identification Requirement for Requesting an Absentee
            Ballot

      45.   Defendants admit that photo identification has been required to

vote in-person in Georgia since 2006 and that, prior to SB 202, the identity of

voters voting by absentee ballots was verified by other means.

      46.   Defendants admit the allegations contained in Paragraph 46.

      47.   Defendants admit the allegations contained in Paragraph 47.

      48.   Defendants admit the allegations contained in Paragraph 48.

      49.   Defendants admit the allegations contained in Paragraph 49.

      50.   Defendants admit the allegations contained in Paragraph 50.



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      51.   Defendants lack sufficient knowledge or information with which to

form a belief as to the accuracy of the allegations contained in Paragraph 51.

      52.   Paragraph 52 contains Plaintiff’s characterization of legislative

debates, not allegations of fact, to which no response is required. By way of

further response, Defendants respectfully refer the Court to the record of such

debates for a full and accurate statement of their contents and deny any

allegations inconsistent therewith.

      53.   Paragraph 53 contains Plaintiff’s characterization of publicly

available statements made on Twitter, not allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer

the Court to the cited statements for a full and accurate statement of their

contents and deny any allegations inconsistent therewith.

      54.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 54.

      D.    Window to Request Absentee Ballots

      55.   Paragraph 55 contains Plaintiff’s legal conclusions, not allegations

of fact, to which no response is required.

      56.   Paragraph     56   contains      Plaintiff’s   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

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to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      57.   Paragraph    57   contains     Plaintiff’s   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      58.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 58.

      59.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 59.

      E.    Drop Boxes

      60.   Defendants admit the allegations contained in Paragraph 60.

      61.   Defendants admit the allegations contained in Paragraph 61.

      62.   Paragraph 62 contains Plaintiff’s characterization of authority and

legal conclusions, not allegations of fact, to which no response is required. By

way of further response, Defendants respectfully refer the Court to the

relevant authority for a full and accurate statement of its contents and deny

any allegations inconsistent therewith.




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      63.   Defendants admit that voters used drop boxes to return ballots in

the November 2020 and January 2021 elections. Defendants lack sufficient

knowledge or information with which to form a belief as to the truth of the

remaining allegations contained in Paragraph 63.

      64.   Defendants admit that many voters used drop boxes to return

ballots in the November 2020 and January 2021 elections. By way of further

response, Defendants respectfully refer the Court to the cited article that

Plaintiff characterizes in Paragraph 64 for a full and accurate statement of its

content and deny any allegations inconsistent therewith.

      65.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 65.

      66.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 66.

      67.   Paragraph    67   contains     Plaintiff’s   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      68.   Paragraph    68   contains     Plaintiff’s   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

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required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      69.   Paragraph    69   contains    Plaintiff’s   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      70.   Paragraph    70   contains    Plaintiff’s   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      71.   Paragraph    71   contains    Plaintiff’s   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.




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      F.    Food and Drink Distribution

      72.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 72.

      73.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in this Paragraph 73.

      74.   Paragraph    74   contains     Plaintiff’s   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      75.   Paragraph    75   contains     Plaintiff’s   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      G.    Out-of-Precinct Provisional Ballots

      76.   Paragraph    76   contains     Plaintiff’s   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court




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to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      77.   Paragraph    77   contains     Plaintiff’s   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      78.   Paragraph    78   contains     Plaintiff’s   legal   conclusions   and

characterization of SB 202, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the cited authority for a full and accurate statement of their contents and

deny any allegations inconsistent therewith.

      79.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 79.

      80.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 80.

      SB 202’s Historical Background

      81.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 81.




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      82.   Paragraph 82 contains Plaintiff’s characterization of population

data, not allegations of fact, to which no response is required. By way of further

response, Defendants respectfully refer the Court to relevant population data

for a full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      83.   Defendants admit the allegations contained in the first sentence of

Paragraph 83. Defendants further admit the allegations contained in the first

half of the second sentence, but lack sufficient knowledge or information with

which to form a belief as to the truth of the allegation that this “defied typical

voting patterns for Black voters.” Defendants lack sufficient information or

knowledge with which to form a belief as to the truth of the remaining

allegations contained in Paragraph 83.

      84.   Defendants admit that Stacey Abrams ran for Governor in 2018.

Defendants lack sufficient knowledge or information with which to form a

belief as to the truth of the remaining allegations contained in Paragraph 84.

      85.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 85.

      86.   Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 86.




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      87.    Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 87.

      88.    Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 88.

      89.    Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 89.

      90.    Paragraph 90 contains Plaintiff’s characterization of voting data.

Defendants respectfully refer the Court to the referenced voting data for a full

and accurate statement of their contents and deny any allegations inconsistent

therewith.

      91.    Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in the first sentence of

Paragraph 91.     Defendants admit the allegations contained in the second

sentence.

      92.    Defendants admit the allegations contained in Paragraph 92.

      93.    Defendants admit that “many voters cast absentee ballots” and

utilized drop boxes. Defendants lack sufficient knowledge or information with

which to form a belief as to the truth of the allegations contained in the

remaining portions of Paragraph 93.

      94.    Defendants admit the allegations in Paragraph 94.

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      95.     Defendants admit that many precincts saw an increase in voter

turnout.

      96.     Defendants admit that Georgia voters elected Senators Warnock

and Ossoff.

      97.     Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 97.

      98.     Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 98.

      99.     Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 99.

      100. Defendants admit that the elections in 2020 and 2021 in Georgia

garnered significant media attention for many reasons.

      101. Defendants admit that Georgia law allowed voters three days after

the election to cure their rejected ballots for the November 2020 general

election.   Defendants    deny   the   remaining   allegations   contained     in

Paragraph 101.

      102. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 102.




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      103. Defendants admit that there were legal challenges brought

relating to the election results in Georgia and that those challenges were

covered in the national news.

      104. Defendants admit that there were legal challenges brought

relating to the election results in Georgia, but lack sufficient knowledge or

information with which to form a belief as to the truth of the allegations

contained in Paragraph 104.

      105. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 105.

      106. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 106.

      107. Defendants admit that multiple recounts were conducted and that

those recounts did not alter the outcomes of any contests. The remaining

portions of Paragraph 107 contain Plaintiff’s characterization of those

recounts, not allegations of fact, to which no response is required.

      108. Defendants admit that multiple recounts were conducted and that

those recounts did not alter the outcomes of any contests. The remaining

portions of Paragraph 108 contain Plaintiff’s characterization of those

recounts, not allegations of fact, to which no response is required. By way of

further response, Defendants respectfully refer the Court to the cited

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statement for a full and accurate statement of its contents and deny any

allegation inconsistent therewith.

      109. Defendants admit that there were several civil actions filed

challenging the 2020 election results. The remaining portions of Paragraph

109 contain Plaintiff’s characterization of those lawsuits, not allegations of

fact, to which no response is required. By way of further response, Defendants

respectfully refer the Court to the referenced lawsuits for a full and accurate

depiction of their allegations and resolution, and deny any allegation

inconsistent therewith. Defendants deny the remaining allegations contained

in Paragraph 109.

      110. Defendants admit that there were several civil actions filed

challenging the 2020 election results, and that some of the lawyers who filed

those lawsuits testified at state legislative committee hearings. The remaining

portions of Paragraph 110 contain Plaintiff’s characterization of those

legislative proceedings, not allegations of fact, to which no response is required.

By way of further response, Defendants respectfully refer the Court to the

referenced legislative proceedings for a full and accurate statement of their

contents and deny any allegation inconsistent therewith.

      111. Paragraph 111 contains Plaintiff’s           characterization    of an

interview, not allegations of fact, to which no response is required. By way of

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further response, Defendants respectfully refer the Court to the cited interview

for a full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      Legislative History and Enactment of SB 202

      112. Defendants admit the allegations contained in Paragraph 112.

      113. Defendants admit the allegations contained in Paragraph 113.

      114. Paragraph 114 contains Plaintiff’s characterization of the cited

article, not allegations of fact, to which no response is required. By way of

further response, Defendants respectfully refer the Court to the cited article

for a full and accurate statement of their contents and deny any allegations

inconsistent therewith.

      115. Defendants admit the allegations contained in Paragraph 115 but

deny that they have any bearing on the claims included in this action.

      116. Defendants admit that the Senate Ethics Committee held a

hearing SB 202 on March 3, 2021. The remaining portions of Paragraph 116

contain Plaintiff’s characterization of that hearing, not allegations of fact, to

which no response is required. By of further response, Defendants respectfully

refer the Court to the cited hearing for a full and accurate statement of the

statements made and deny any allegations inconsistent therewith.




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      117. Defendants admit the allegations contained in the first two

sentences of Paragraph 117.       Defendants further admit the allegations

contained in the third sentence of Paragraph 117 but deny that they have any

bearing on this action.

      118. Defendants admit the allegations contained in Paragraph 118.

      119. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 119.

      120. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 120.

      121. Defendants admit that the Special Committee on Election

Integrity met on March 18. The remaining portion of Paragraph 121 contains

Plaintiff’s characterization of a statement allegedly made by Representative

Burnough, not allegations of fact, to which no response is required. By way of

further answer, Defendants respectfully refer the Court to the referenced

statement for a full and accurate statement of its contents and deny any

allegation inconsistent therewith.

      122. Paragraph 122 contains Plaintiff’s characterization of legislative

proceedings, not allegations of fact, to which no response is required. By way

of further response, Defendants respectfully refer the Court to the referenced




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proceedings for a full and accurate statement of their contents and deny any

allegation in consistent therewith.

      123. Paragraph 123 contains Plaintiff’s characterization of legislative

proceedings, not allegations of fact, to which no response is required. By way

of further response, Defendants respectfully refer the Court to the referenced

proceedings for a full and accurate statement of their contents and deny any

allegation in consistent therewith.

      124. Paragraph 124 contains Plaintiff’s characterization of legislative

proceedings, not allegations of fact, to which no response is required. By way

of further response, Defendants respectfully refer the Court to the referenced

proceedings for a full and accurate statement of their contents and deny any

allegation in consistent therewith.

      125. Defendants admit that the House Special Committee met on

March 22 and voted favorably on the 90-page substitute bill. Defendants lack

sufficient knowledge or information with which to form a belief as to the truth

of the allegation that a vote was held “within an hour.”

      126. Paragraph 126 contains Plaintiff’s characterization of legislative

proceedings, not allegations of fact, to which no response is required. By way

of further response, Defendants respectfully refer the Court to the referenced

proceedings for a full and accurate statement of their contents and deny any

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allegation in consistent therewith. Moreover, Defendants deny the implication

that it is uncommon for legislators to voice or objections about legislation

during the legislative process.

      127. Paragraph 127 contains Plaintiff’s characterization of legislative

proceedings, not allegations of fact, to which no response is required. By way

of further response, Defendants respectfully refer the Court to the referenced

proceedings for a full and accurate statement of their contents and deny any

allegation in consistent therewith. Moreover, Defendants deny the implication

that it is uncommon for legislators to voice or objections about legislation

during the legislative process.

      128. Defendants admit that the House debated SB 202 on March 25.

The remaining portions of Paragraph 128 contain Plaintiff’s characterization

of legislative proceedings, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the referenced proceedings for a full and accurate statement of their contents

and deny any allegation in consistent therewith. Moreover, Defendants deny

the implication that it is uncommon for legislators to voice or objections about

legislation during the legislative process.

      129. Paragraph 129 contains Plaintiff’s characterization of legislative

proceedings and multiple levels of hearsay, not allegations of fact, to which no

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response is required. By way of further response, Defendants respectfully refer

the Court to the referenced proceedings for a full and accurate statement of

their contents and deny any allegation in consistent therewith. Moreover,

Defendants deny the implication that it is uncommon for legislators to voice or

objections about legislation during the legislative process

      130. Defendants admit the allegations contained in Paragraph 130, but

deny that they have any bearing on the claims included in this action.

      131. Paragraph 131 contains Plaintiff’s characterization of legislative

proceedings, not allegations of fact, to which no response is required. By way

of further response, Defendants respectfully refer the Court to the referenced

proceedings for a full and accurate statement of their contents and deny any

allegation in consistent therewith.

      132. Defendants admit the allegations contained in Paragraph 132, but

deny that they have any bearing on the claims included in this action.

      133. Defendants admit that Governor Kemp signed SB 202 in a room

with other individuals. Defendants lack sufficient knowledge or information

with which to form a belief as to the truth of the remaining allegations

contained in Paragraph 133.

      Passage of SB 202 was Motivated by Discriminatory Purpose

      134. Defendants deny the allegations contained in Paragraph 134.

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       135. Defendants deny the allegations contained in Paragraph 135.

       136. Defendants deny each of the allegations stated or implied in

Paragraph 136.

       137. Paragraph 137 contains legal conclusions, not allegations of fact,

to which no response is required. To the extent that this paragraph contains

factual allegations to which a response is necessary, Defendants deny those

factual allegations.

       138. Defendants deny the allegations stated or implied in Paragraph

138.

       139. Defendants deny the allegations stated or implied in Paragraph

139.

       140. Defendants deny the allegations stated or implied in Paragraph

140.

       141. Defendants deny the allegations stated or implied in Paragraph

141.

       142. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 142.

       143. Defendants deny the allegations stated or implied in Paragraph

143.




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       144. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 144.

       145. Defendants deny the allegations stated or implied in Paragraph

145.

       146. Defendants deny the allegations stated or implied in Paragraph

146.

       147. Defendants deny the allegations stated or implied in Paragraph

147.

       148. Defendants deny the allegations stated or implied in Paragraph

148.

       149. Defendants deny the allegations stated or implied in Paragraph

149.

       150. Defendants deny the allegations stated or implied in Paragraph

150.

       151. Defendants deny the allegations stated or implied in Paragraph

151.

       152. The first sentence of Paragraph         152 contains Plaintiffs’

characterization of population data, not allegations of fact, to which no

response is required. By way of further response, Defendants respectfully refer

the Court to the referenced population data for a full and accurate statement

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of their contents and deny any allegations inconsistent therewith. Defendants

further admit that a majority of voters in Georgia voted for the country’s first

Black Vice President and Georgia’s first Black U.S. Senator. Defendants lack

sufficient knowledge or information with which to form a belief as to the truth

the remaining allegations contained in Paragraph 152.

      153. Defendants lack sufficient knowledge or information with which to

form a belief as to the truth of the allegations contained in Paragraph 153.

      154. Defendants admit that multiple recounts were conducted and that

those recounts did not alter the outcomes of any contests. The remaining

portions of Paragraph 154 contain Plaintiff’s characterization of those recounts

and associated statements, not allegations of fact, to which no response is

required. By way of further response, Defendants respectfully refer the Court

to the referenced statements for a full and accurate statement of their contents

and deny any allegations in consistent therewith. To the extent that this

paragraph contains factual allegations to which a response is deemed

necessary, Defendants deny those factual allegations.

      155. Paragraph 155 contains Plaintiff’s characterization of legislative

proceedings, not allegations of fact, to which no response is required. By way

of further response, Defendants respectfully refer the Court to the referenced

proceedings for a full and accurate statement of their contents and deny any

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allegation in consistent therewith. To the extent that this paragraph contains

factual allegations to which a response is necessary, Defendants deny those

factual allegations.

      156. Defendants deny the factual allegations stated or implied in

Paragraph 156.

      157. Paragraph 157 contains Plaintiff’s characterization of legislative

proceedings, not allegations of fact, to which no response is required. By way

of further response, Defendants respectfully refer the Court to the referenced

proceedings for a full and accurate statement of their contents and deny any

allegation in consistent therewith. To the extent that this paragraph contains

factual allegations to which a response is necessary, Defendants deny those

factual allegations.

      158. Paragraph 158 contains Plaintiff’s legal conclusions to which no

response is required. To the extent that this paragraph contains factual

allegations to which a response is necessary, Defendants deny those factual

allegations.

                           CAUSE OF ACTION

          Section 2 of the Voting Rights Act, 52 U.S.C. § 10301

      159. Defendants incorporate by reference and reallege their responses

to the foregoing allegations as if fully restated herein.

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      160. Paragraph    160   contains    Plaintiff’s   legal   conclusions,   not

allegations of fact, to which no response is required. To the extent that this

paragraph contains factual allegations to which a response is necessary,

Defendants deny those factual allegations.

      161. Paragraph    161   contains    Plaintiff’s   legal   conclusions,   not

allegations of fact, to which no response is required. To the extent that this

paragraph contains factual allegations to which a response is necessary,

Defendants deny those factual allegations.

      162. Paragraph    162   contains    Plaintiff’s   legal   conclusions,   not

allegations of fact, to which no response is required. To the extent that this

paragraph contains factual allegations to which a response is necessary,

Defendants deny those factual allegations.

      163. Paragraph    163   contains    Plaintiff’s   legal   conclusions,   not

allegations of fact, to which no response is required. To the extent that this

paragraph contains factual allegations to which a response is necessary,

Defendants deny those factual allegations.

      164. Defendants deny the allegations contained in Paragraph 164.

      165. Defendants deny the allegations contained in Paragraph 165.




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                          PRAYER FOR RELIEF

      The remaining portions of Plaintiff’s Compliant contain its request for

relief, to which no response is required. To the extent a response is deemed

necessary, Defendants deny that Plaintiff is entitled to any relief whatsoever.

      Respectfully submitted this 21st day of January 2022.
                                    Christopher M. Carr
                                    Attorney General
                                    Georgia Bar No. 112505
                                    Bryan K. Webb
                                    Deputy Attorney General
                                    Georgia Bar No. 743580
                                    Russell D. Willard
                                    Senior Assistant Attorney General
                                    Georgia Bar No. 760280
                                    Charlene McGowan
                                    Assistant Attorney General
                                    Georgia Bar No. 697316
                                    State Law Department
                                    40 Capitol Square, S.W.
                                    Atlanta, Georgia 30334
                                    /s/ Gene C. Schaerr
                                    Gene C. Schaerr*
                                    Special Assistant Attorney General
                                    Erik Jaffe*
                                    H. Christopher Bartolomucci*
                                    Brian J. Field*
                                    Riddhi Dasgupta*
                                    Joshua J. Prince*
                                    SCHAERR | JAFFE LLP
                                    1717 K Street NW, Suite 900
                                    Washington, DC 20006
                                    (202) 787-1060
                                    gschaerr@schaerr-jaffe.com
                                    *Admitted pro hac vice

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                                  Bryan P. Tyson
                                  Special Assistant Attorney General
                                  Georgia Bar No. 515411
                                  btyson@taylorenglish.com
                                  Bryan F. Jacoutot
                                  Georgia Bar No. 668272
                                  bjacoutot@taylorenglish.com
                                  Loree Anne Paradise
                                  Georgia Bar No. 382202
                                  lparadise@taylorenglish.com
                                  Taylor English Duma LLP
                                  1600 Parkwood Circle
                                  Suite 200
                                  Atlanta, Georgia 30339
                                  (678) 336-7249
                                  Counsel for Defendants

Dated: January 21, 2022




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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing document has been prepared in Century Schoolbook 13, a font and

type selection approved by the Court in L.R. 5.1(B).

                                          /s/ Gene C. Schaerr
                                          Gene C. Schaerr
